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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 24-80116-CR-CANNON/McCabe



  UNITED STATES OF AMERICA

  v.

  RYAN WESLEY ROUTH,

                Defendant
                                 ____      ______/

                    UNITED STATES NOTICE OF CLASSIFIED FILING

         The United States, by and through the undersigned attorneys, hereby provides notice that

  on February 28, 2025, the United States filed a classified Notice ex parte, in camera, and under

  seal with the Classified Information Security Officer pursuant to the Court’s February 20, 2025,

  Order [ECF No. 100]. An unclassified cover sheet for the Notice is attached hereto.

                                                      Respectfully submitted,

                                                      HAYDEN P. O’BYRNE
                                                      UNITED STATES ATTORNEY

                                              By:     /s/ John C. Shipley__
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                                            SUE BAI
                                            SUPERVISORY OFFICIAL
                                            PERFORMING THE DUTIES OF THE
                                            ASSISTANT ATTORNEY GENERAL
                                            FOR THE NATIONAL SECURITY
                                            DIVISION

                                     By:    /s/ David C. Smith
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                                  CERTIFICATE OF SERVICE

         I certify that on February 28, 2025, I electronically filed the foregoing document with the
  Clerk of Court using CM/ECF.



                                                       /s/ John C. Shipley
                                                       John C. Shipley




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